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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA,                                     Case No.   2:13-CR-6070-WFN-1
                                                              CRIMINAL MINUTES
                                     Plaintiff,
       -vs-                                                   DATE:     FEBRUARY 24, 2014
                                                              LOCATION: YAKIMA
KENNETH RICHARD ROWELL,
                                     Defendant.               CHANGE OF PLEA HEARING

                                     Hon. Wm. Fremming Nielsen
   Joanna L. Knutson               Heather Foe                      N/A                    Kimberly Allen
  Courtroom Deputy                  Law Clerk                   Interpreter               Court Reporter
                Alexander C. Ekstrom                                        Rick L. Hoffman
                Government Counsel                                          Defense Counsel
United States Probation Officer:     Jennifer M. Dykstra

       [ X ] Open Court                      [ ] Chambers                         [ ] Telecon
Defendant present in custody of United States Marshal with appointed counsel. Court confirmed with defense
counsel that the Defendant was prepared to enter a change of plea to the Indictment at this time. Court previously
queried Defendant as to the accuracy of his name.

Government counsel set forth the elements that would need to be proven to obtain a conviction. Original signed
11(c)(1)(C) Plea Agreement handed up for filing. Court engaged Defendant in a colloquy regarding charges and
advised Defendant he has a right to go to trial. Court advises Defendant of Constitutional Rights given up by plea
of guilty. Defendant enters guilty plea. Order Accepting Guilty Plea to Count 1 of the Indictment signed and
filed; Presentence Investigation Report ordered. Order Re: Schedule for Sentencing to be filed. All pending
motions are denied as moot.

Sentencing set for May 19, 2014, at 10:00 a.m., Y/WFN. Defendant shall REMAIN DETAINED as previously
ordered.




[ X ] ORDERS FORTHCOMING

CONVENED: 11:02 A.M.        ADJOURNED: 11:14 A.M.          TIME:       0:12 HR.       CALENDARED       [ X ]
